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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION


IN RE: ETHICON, INC. PELVIC REPAIR                                 Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                         MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN                                 JOSEPH R. GOODWIN U.S. DISTRICT
EXHIBIT A                                                                  JUDGE


              NOTICE OF ADOPTION OF ETHICON’S MOTION TO EXCLUDE THE
               OPINIONS AND TESTIMONY OF PROF. DR. MED. UWE KLINGE
                                  FILED IN WAVE 4

         Defendants Ethicon, Inc. and Johnson & Johnson (“Ethicon”) adopt and incorporate by

reference Ethicon’s Motion to Exclude the Opinions and Testimony of Prof. Dr. Med. Uwe

Klinge. [Dkt. #3626], and Ethicon’s Memorandum of Law in Support of Motion to Exclude the

Opinions and Testimony of Prof. Dr. Med. Uwe Klinge. [Dkt. #3630], previously filed in Wave

4. Ethicon respectfully requests that the Court exclude Dr. Klinge’s testimony in the Wave 6

cases identified in Exhibit A for the reasons expressed in the Wave 4 briefing adopted and

incorporated here.

Dated: October 20, 2017


                                                         Respectfully submitted,


                                                         /s/ David B. Thomas
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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2017, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to CM/ECF participants registered to receive service in this MDL.




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